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FOR THE WESTERN DlsTRICT oF TENNESSEE
WESTERN DIvIsIoN 05 ""UG 2‘* PM 12= 35

     

UNITES STATES OF AMERJCA,

Plaintiff,

V.

Cr. No. 05-20156-D
JOHN MUR.RAY, JR.,

Defendant.

f

RDER GRANTING DEFENDANT’S MOTION
TO RESET REPORT DATE

matter currently set

'vL

for Thursday, August 25, 2005, is hereby RESET for

9 ,2005.

It is so ORDERED, this the :LE¢-¢»{ day of August, 2005 .

 

   

This document entered on the docket she
with Hule 55 and/or 32(b) FFiCrF on

   

UNITED sTATE DISTRIC COURT - WESTERN D's'TRCT 0 TESSEE

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Honorable Bernice Donald
US DISTRICT COURT

